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                                                                                                            U.S. DISTRICT COURT
                                                                                                                N.D. OF ALABAMA


                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

                                                      }
IN RE: BLUE CROSS BLUE SHIELD                         }       Master File No.: 2:13-CV-20000-RDP
ANTITRUST LITIGATION                                  }
                                                      }       This document relates to
                                                      }       Subscriber Track
      (MDL NO.: 2406)                                 }
                                                      }

     AMENDMENT TO FINAL ORDER AND JUDGMENT GRANTING APPROVAL OF
       SUBSCRIBER CLASS ACTION SETTLEMENT RELATING ONLY TO THE
                    RELEASES PROVIDED BY OPT-OUTS

          On the court’s own motion, pursuant to Federal Rule of Civil Procedure 60(a), and with

the settling parties’ consent, the Final Order and Judgment Granting Approval of Subscriber Class

Action Settlement is AMENDED as follows with regard to the releases provided by Opt-Outs

under the Settlement:

I.        Section II(C) of the court’s August 9, 2022 Order (Doc. # 2931 at 15-16) is AMENDED
          as follows:

          C. Settlement Class Release

          Upon the Effective Date of the Settlement, Releasors (Class Representatives and

Settlement Class Members) who have not timely and validly excluded themselves (i.e., opted out)

will have fully released all claims against the Releasees ((i) Individual Blue Plans, (ii) BCBSA,

(iii) NASCO,1 and (iv) Consortium Health Plans, Inc.,2 as well as related entities). (Id. ¶¶ 32,

1(vvv), 1(www)). Opt-Outs will release all claims for indivisible injunctive or declarative relief



          1
              NASCO is a healthcare technology company owned by several Blue Plans and is involved in processing
claims.
          2
           Consortium Health Plans, Inc. is a marketing company owned by several Blue Plans and provides marketing
assistance regarding national accounts to BCBSA and the Blue Plans.
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against the Releasees. However, a Self-Funded Account opt-out does not release any claims for

individualized declaratory or injunctive relief, which may include the right to pursue in litigation

more than one Blue bid based upon an Opt-Out’s individual business and the facts and

circumstances of the individual claims. The releases apply to Releasors and their related persons

and entities, such as dependents and beneficiaries under their respective benefits plans.

       The Releasors agree to release any and all known and unknown claims:

       based upon, arising from, or relating in any way to: (i) the factual predicates of the
       Subscriber Actions (including but not limited to the Consolidated Amended Class
       Action Complaints filed in the Northern District of Alabama) including each of the
       complaints and prior versions thereof, or any amended complaint or other filings
       therein from the beginning of time through the Effective Date; (ii) any issue raised
       in any of the Subscriber Actions by pleading or motion; or (iii) mechanisms, rules,
       or regulations by the Settling Individual Blue Plans and BCBSA within the scope
       of Paragraphs 10 through 18 approved through the Monitoring Committee Process
       during the Monitoring Period.

(Id. ¶ 1(uuu)). Thus, the Released Claims in certain circumstances will include those “mechanisms,

rules or regulations” enacted after the Effective Date that are approved by the Monitoring

Committee during the Monitoring Period, but only to the extent those “mechanisms, rules or

regulations” relate to the provisions enumerated in Paragraphs 10 through 18 of the Settlement.

       The Releasors retain their right to assert certain claims relating to coverage, benefits and

administration of claims that arise in the ordinary course of business and are not “based in whole

or in part on the factual predicates of the Subscriber Actions or any other component of the

Released Claims discussed in this Paragraph.” (Id.).

       Additionally, Providers who are Settlement Class Members retain the right to assert any

claims arising from their sale or provision of health care products or services, and Settling

Defendants have agreed not to raise Providers’ releases under this Settlement as a defense to

Providers’ claims brought in their capacity as Providers of health care products or services in MDL

No. 2406. (Id.).
                                                 2
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II.    Paragraph 17 of the court’s August 9, 2022 Order effecting the APPROVAL OF THE
       SETTLEMENT AGREEMENT (Doc. # 2931 at 87-88) is AMENDED as follows:

       17.     The Opt-Outs identified in Document # 2928 are EXCLUDED from the Damages

Class and the divisible Second Blue Bid relief pursuant to properly made exclusion requests. They

may not make any claim on or receive any benefit from or under (a) the Settlement Fund, whether

monetary or otherwise, or (b) any benefit under Paragraph C(15), the Second Blue Bid portion of

the injunctive relief. Nonetheless, the identified Opt-Outs may not pursue any claims released

under the Settlement Agreement regarding indivisible relief on behalf of those who are bound by

this Final Judgment. For purposes of clarity, a Self-Funded Account that opted out does not release

any claims for individualized declaratory or injunctive relief, which may include the right to pursue

in litigation more than one Blue bid based upon an Opt-Out’s individual business and the facts and

circumstances of the individual claims. All other claims for indivisible declaratory or injunctive

relief released under the Settlement Agreement are released. Each Settlement Class Member not

appearing in Document # 2928 is BOUND BY THIS FINAL JUDGMENT AND WILL

REMAIN FOREVER BOUND.

       DONE and ORDERED this September 7, 2022.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE




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